    23-50751-cag Doc#2 Filed 06/15/23 Entered 06/15/23 17:11:09 Main Document Pg 1 of 3


 Fill in this information to identify the case:
 Debtor name        ARS Specialty Contractors LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and          Name, telephone         Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email       (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of              debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor                professional          unliquidated,   secured, fill in total claim amount and
                               contact                 services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Alamo Concrete                                     Business Debt                                                            $779,065.00
    Products Company
    PO Box 843912
    Dallas, TX 75284-3912



2   Dependable LLC                                     Business Debt                                                            $317,413.10
    PO Box 5938
    Cleveland, OH 44101




3   Cloudfund LLC                                      Business Debt                                                            $300,000.00
    400 Rella Blvd., Suite
    165-101
    Suffern, NY 10901



4   American Express                                   Credit Card                                                              $260,390.29
    PO Box 96001
    Los Angeles, CA 90096-
    8000



5   Precision Fund LLC                                 Business Debt                                                            $250,000.00




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 1
    23-50751-cag Doc#2 Filed 06/15/23 Entered 06/15/23 17:11:09 Main Document Pg 2 of 3


Debtor       ARS Specialty Contractors LLC                                       Case number (if known)
             Name


 Name of creditor and          Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
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                               contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                     government                            calculate unsecured claim.
                                                     contracts)
                                                                                           Total           Deduction       Unsecured
                                                                                           claim, if       for value       claim
                                                                                           partially       of
                                                                                           secured         collateral
                                                                                                           or setoff
6   Keene Building Products                          Business Debt                                                            $241,227.95
    PO Box 241353
    Mayfield Heights, OH
    44124



7   SunCoast Post Tension                            Business Debt                                                            $141,327.80
    10830 Iota Drive
    San Antonio, TX 78217




8   Aquino Construction                              Business Debt                                                            $141,161.44
    Attn: Orlando Aquino
    4866 Corian Oak Drive
    San Antonio, TX 78219



9   Makina Trocas LLC                                Business Debt                                                            $131,760.50
    Attn: Armando A.
    Aragon
    PO Box 241865
    San Antonio, TX 78224

10 Custom-Crete                                      Business Debt                                                            $106,790.50
   PO Box 843466
   Dallas, TX 75284-3466




11 White Cap, L.P.                                   Business Debt                                                            $100,737.38
   PO Box 4944
   Orlando, FL 32802




12 Sunstate Equipment                                Business Debt                                                              $90,209.84
   PO Box 208439
   Dallas, TX 75320-8439




13 Ingram Ready Mix                                  Business Debt                                                              $72,162.00
   3580 FM 482
   New Braunfels, TX
   78132




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
   23-50751-cag Doc#2 Filed 06/15/23 Entered 06/15/23 17:11:09 Main Document Pg 3 of 3


Debtor       ARS Specialty Contractors LLC                                      Case number (if known)
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                               contact              services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
14 CMC Construction                                 Business Debt                                                              $64,237.38
   P Box 844573
   Dallas, TX 75284-4573




15 Hacker Industries G                              Business Debt                                                              $55,696.00
   1401 Dove Street, Suite
   640
   Newport Beach, CA
   92660

16 Chase Ink                                        Credit Card                                                                $45,769.48
   Cardmember Services
   PO Box 6294
   Carol Stream,IL 60197-
   6294

17 Texas Hill Country Mobile                        Business Debt                                                              $39,905.24
   Mixers, LLC
   43000 IH 10 West
   Boerne, TX 78006



18 Capital One                                      Credit Card                                                                $35,060.80
   PO Box 60519
   City of Industry, CA
   91716-0519



19 Federated Insurance                              Business Debt                                                              $30,687.14
   1141 N. Loop 1604 E
   Suite 105-123
   San Antonio, TX 78232



20 Rental One R1 Supply                             Business Debt                                                              $17,373.80
   4715 Rittiman Road
   San Antonio, TX 78218




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
